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                    UNITED STATES DISTRICT COURT
9                  CENTRAL DISTRICT OF CALIFORNIA
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11   RICHARD WASHINGTON, an                Case No.: 16-CV-5427-FMO-AFM
     individual,
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                                           ORDER DISMISSING
13
                Plaintiff,                 DEFENDANTS, RELIANT
14                                         GENERAL INSURANCE
                                           SERVICES, INC. AND
15
                   v.                      OCCIDENTAL FIRE &
16                                         CASUALTY COMPANY OF
                                           NORTH CAROLINA, INC. ONLY
17
     CITY TITLE LOAN, LLC.; ALL
18   AMERICAN RECOVERY, INC.;
19   RELIANT GENERAL
     INSURANCE SERVICES, INC.;
20   OCCIDENTAL FIRE &
21   CASUALTY COMPANY OF
     NORTH CAROLINA, INC.; and
22   SAFEROAD INSURANCE
23   SERVICES, INC.
24
25              Defendants.
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     ORDER                                                       PAGE 1 OF 2	
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 1                                     ORDER
 2        Having considered Plaintiff’s Joint Motion Requesting Dismissal as to
 3   Defendants,   RELIANT GENERAL INSURANCE SERVICES, INC. and
 4   OCCIDENTAL FIRE & CASUALTY COMPANY OF NORTH CAROLINA,
 5   INC., and good cause having been shown:
 6        IT IS HEREBY ORDERED that the Motion is GRANTED and the above
 7   captioned action is dismissed with prejudice as to RELIANT GENERAL
 8   INSURANCE SERVICES, INC. and OCCIDENTAL FIRE & CASUALTY
 9   COMPANY OF NORTH CAROLINA, INC., only.
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11        IT IS SO ORDERED.
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14 DATED: January 10, 2017
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16                                                     /s/
                                        Hon. Judge Fernando M. Olguin
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     ORDER                                                         PAGE 2 OF 2	
